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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 16-5202                                                     September Term, 2017
                                                                          1:14-cv-01967-RMC
                                                       Filed On: May 16, 2018 [1731072]
United States House of Representatives,

                   Appellee

         v.

Alex Michael Azar, II, in his official capacity
as Secretary of the United States
Department of Health and Human Services,
et al.,

                   Appellants

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District of Columbia, et al.,
                Intervenors

                                          MANDATE

      In accordance with the order of May 16, 2018, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Robert J. Cavello
                                                              Deputy Clerk




Link to the order filed May 16, 2018
